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                         Exhibit A
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In re                                                    MASTER DOCKET
CUSTOMS AND TAX ADMINISTRATION                          Case No.: 1:18-md-02865-LAK
OF THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX                                '(&/$5$7,212)
REFUND LITIGATION                                        $17+21<67(9(1),(/'


       I, Anthony Steven Field, pursuant to 28 U.S.C. § 1746, declare, under penalty of perjury
under the laws of the United States of America that the following is true and correct:

      1.     I am a solicitor of the Senior Courts and a director of Rosenblatt Limited, counsel
for ED&F Man Capital Markets (“ED&F”) in proceedings brought by Skatteforvaltningen
(“SKAT”) before the Commercial Court, High Court of Justice in England (the “High Court”).

        2.      ED&F has applied to the High Court for a declaration that certain documents and
communications exchanged between ED&F and the Financial Conduct Authority (“FCA”), as
well as certain related documents, are subject to litigation privilege, which is substantive and
absolute as a matter of English common law. The High Court has issued application notices, and
thus the application is now before the High Court. Attached hereto are true and correct copies of
(a) the application notices (([KLELW); and (b) the list of documents (the “Subject Documents”)
as to which the declaration was sought (([KLELW). A confidential witness statement was
submitted in support of the application.

        3.     The Subject Documents include the privileged documents sought by SKAT in the
instant U.S. proceedings. Thus, the High Court will be deciding the issue of whether these
documents are privileged under English law. As presented to the High Court, the Subject
Documents are protected by litigation privilege because they are confidential and were created
by counsel for the sole or dominant purpose of litigation when adversarial proceedings against
ED&F were reasonably contemplated. See, e.g., Three Rivers District Council & Ors. v. Bank of
England [2004] UKHL 48 at [102] (([KLELW . The fact that some Subject Documents were
submitted to the FCA does not waive the privilege under English law, because such documents
were submitted on a confidential basis expressly without waiver of privilege, and the FCA is
expressly prohibited under Section 348 of the Financial Services and Markets Act 2000 from
disclosing the documents without ED&F’s consent. See, e.g., Bilta & Ors. v. RBS [2017] EWHC
3535 (Ch) at [62] (upholding litigation privilege over documents submitted to regulator
“expressly without waiving privilege in the underlying material”) (([KLELW); Property Alliance
Group Limited v. RBS [2015] EWHC 1557 (Ch)     h) at [113] (no waiver bas
                                                                      based on disclosure to
regulator even where regulator had “carve outs”s” to use and disclose documents
                                                                      docu      not present here)
(([KLELW).


Executed on May 15, 2020.                   ______________________
                                            _______________________________
                                            Anthony Steven Field
